                 Case 2:22-cv-00677-JJT Document 76 Filed 07/20/22 Page 1 of 3




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15   Attorneys for Defendant
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16
17                              UNITED STATES DISTRICT COURT
18                                    DISTRICT OF ARIZONA
19   Kari Lake and Mark Finchem,                     )   No. 2:22-cv-00677-JJT
                                                     )
20                         Plaintiffs,               )
                                                     )   ARIZONA SECRETARY OF STATE’S
21          v.                                       )   EMERGENCY MOTION FOR BRIEF
                                                     )   CONTINUANCE OF PRELIMINARY
22   Katie Hobbs, in her official capacity as Arizona)   INJUNCTION HEARING
     Secretary of State, et al.,                     )
23                                Defendants.        )
                                                     )
24                                                   )
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                      Case 2:22-cv-00677-JJT Document 76 Filed 07/20/22 Page 2 of 3




1                    Defendant Arizona Secretary of State Katie Hobbs (“Secretary”) moves for emergency
2    relief in the form of a brief continuance of the preliminary injunction hearing until later in the
3    day on July 21 (or until July 22) to allow her expert (and only) witness, Ryan Macias, to
4    participate in and testify in person due to extenuating circumstances that are preventing him
5    from appearing in person at the scheduled time of the hearing.
6                    By way of background, on July 20, Mr. Macias departed early from the biannual
7    conference of the National Association of State Election Directors in Madison, Wisconsin to
8    attend the July 21 preliminary injunction hearing in person. Mr. Macias was scheduled to fly
9    through Dallas and arrive in Phoenix the night before the hearing. Unfortunately, the Secretary
10   just learned that Mr. Macias’ flight was diverted to another city and, as a result, he missed his
11   connecting flight to Phoenix. He is attempting to secure a seat on the next available flight, but
12   he will not arrive at the courthouse by the time the hearing begins.
13                   Mr. Macias is a key witness for the Secretary and will rebut the testimony of Plaintiffs’
14   so-called “experts” if the Court allows them to testify at all. [See Doc. 74 (moving to exclude
15   those witnesses’ expert testimony)] As a result of these extraordinary circumstances, the
16   Secretary moves for a brief continuance of the hearing until later in the day on July 21, or until
17   July 22, so that Mr. Macias may appear in person. 1
18                   Respectfully submitted this 20th day of July, 2022.
19                                                      COPPERSMITH BROCKELMAN PLC
20                                                      By /s/ D. Andrew Gaona
                                                                 Roopali H. Desai
21                                                               D. Andrew Gaona
                                                                 Kristen Yost
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      If the Court denies this request, the Secretary requests that Mr. Macias be granted leave to
26   participate in the hearing and testify telephonically, assuming he is not mid-flight.

     {00534547.5 }                                       -1-
                     Case 2:22-cv-00677-JJT Document 76 Filed 07/20/22 Page 3 of 3




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